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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA
v. Criminal No. D:7S-W -|Ulo - Z

KRYSTAL DIPIPPA [UNDER SEAL]

CERTIFICATION AND NOTICE FOR FILING PRETRIAL MOTIONS

I hereby certify that I have been notified by the United States Magistrate Judge that all
pretrial motions must be filed within fourteen (14) days of Arraignment unless the Court extends

the time upon written application made within said fourteen (14) day period.

Date Attorney for Defendant
KRYSTAL DIPIPPA
